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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION

IN RE:                                                       CASE NO.: 18-17589-AJC
Violette Blanc                                               CHAPTER 7 NO ASSET
AKA Violette Saint Vil,
Debtor.
______________________/

                  CREDITOR'S OBJECTION AND RESPONSE TO
                      DEBTOR'S MOTION TO CONVERT
   Creditor Dodge Enterprises, Inc., objects to the Debtor's Motion to Convert and alleges:

       1.      Creditor is the assignee of a final judgment entered against the debtor on

September 29, 2006, in the amount $11,323.72 in that certain Dade County Court case

styled Oliphant Financial Corporation v. Clervoix Saint Vil and Violet Saint Vil, Case No.

05-23771-CC23. A copy of the final judgment and assignment of judgment are attached

hereto as Exhibits “A” and “B.”

       2.      On January 15, 2018, Creditor caused instructions for levy to be issued to

the Sheriff of Dade County directing it to levy upon debtor’s 2008 Hummer H3 – VIN

#5GTEN13E988183795, Exhibit “C,” which said Sheriff levied upon on or about February

7, 2018, and for which said Sheriff issued its Notice of Sheriff’s Levy and Notice of

Sheriff’s Sale for April 25, 2018. Exhibit “D.” Debtor valued said vehicle at $12,666 in the
state court action. Exhibit “E.” To date, the levy sale has not taken place and said Sheriff

is in possession of said vehicle.
       3.      By virtue of the Sheriff having levied upon the aforesaid vehicle, creditor

became a lien holder. Fla. Stat. §319.27(2).
       4.      Debtor filed her Chapter 7 petition on June 25, 2018, and listed the levied

upon vehicle in her Schedule B as having no value and for which she did not exempt the
same. Her Schedule I combined monthly income is $1,838 and her Schedule J monthly

expenses total $3,264 leaving the debtor with -$1,426 in monthly net income. (DE1).
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       5.      Although debtor is eligible to be a Chapter 13 debtor, 11 U.S.C. §109(e),

she cannot in good faith propose a Chapter 13 plan. Debtor’s monthly mortgage expense

is $1,217. Without interest, the monthly payment to creditor on the subject vehicle based

upon debtor’s value, Exhibit E, over a period of 60 months is $211.10. This leaves the

debtor less than $409.90 to cover her $2,047 in monthly expenses.

   WHEREFORE, Creditor objects to the debtor’s motion to convert and requests that the

Court deny the same and for such other relief as this Court deems just and equitable.


        I HEREBY CERTIFY that I am admitted to the Bar of the United States District
Court for the Southern District of Florida and I am in compliance with the additional
qualifications to practice in this court set forth in Local Rule 2090-1(A).

                                             Hiday & Ricke, P.A.

                                             By: /s/ Jeffrey R. Becker
                                             Jeffrey R. Becker, Esquire
                                             Attorney for Creditor
                                             P.O. Box 550858
                                             Jacksonville, Florida 32255-0858
                                             (904) 363-2769; Fax: (904) 363-0538
                                             Florida Bar No. 0792977

                            CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished either by U.S. Mail or electronically this 27th day of July, 2018 to Drew M.
Dillworth, 2200 Museum Tower 150 West Flagler Street, Miami, FL 33130, Assistant U.S.
Trustee, Claude Pepper Fed Bldg, Rm 1204, 51 SW First Ave, Miami, FL 33130, Violette
Blanc, 1321 NE 115th Street, Miami, FL 33161 and Jacqueline C Ledon, 4343 W. Flagler
Street, Suite 100, Coral Gables, FL 33134.

                                             Hiday & Ricke, P.A.

                                             By:/s/ Jeffrey R. Becker
                                             Jeffrey R. Becker, Esquire
                                             Post Office Box 550858
                                             Jacksonville, FL 32255
                                             (904) 363-2769 Fax: (904) 363-0538
                                             Email: bankruptcy@hidayricke.com
                                             Florida Bar No.: 0792977
                                             File # 201801407


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